 

 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.51 Page 1 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

indicate to you that there were labels right on the equipment
indicating that they could not be exported?

A. That is correct. Yes, sir.

Q. So they -- the agents knew that these items were not

exportable because it says so right there on the label;

correct?
A. Again, sir, I can’t speak for how another agency handles
their protocol. I mean -- I’m assuming that the label did

indicate clearly that they weren’t to be exported, but I’m
sure that there’s some type of verification process, and I
can’t speak for another agency on their verification process.
Q. Did you prepare an affidavit in support of this
complaint?

A. Yes, sir, I did.

Q. And didn’t you put on there that the United States
Customs agent advised you that he had examined the regulations
applicable to exports of military equipment, and had verified
that Assi was required to obtain from the State Department an
export license before exporting the night vision goggles?

A. Yes, sir, I did. |

Q. All right. So when they stopped him at the airport, you
not only had whatever information you had from these tech
cuts, but you now had him actually attempting to board a
vehicle with items that right on its face said you can’t take

this out of the country; right?

51

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.52 Page 2 of 48

10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

A. Yes, sir.

Q. And he could have been arrested and charged with this
offense right then, couldn’t he?

A. Again, sir, I can’t answer how another agency handles
their -- their protocol. I’m sure there has to be some type
of verification process to insure that item, that
specification, that model is the restricted item, sir.

Q. Now, Agent Thomas, if you find someone about to leave the
country with contraband, for instance cocaine in their
possession, you can arrest them right there, can't you?

A. Sir, I believe there has to be some type of testing of
that cocaine prior to that. I’m sure there’s detention. But
I don’t work drugs, sir.

Q. But -- okay. lLet’s say that you, as an FBI agent,
somehow stop someone on an outboard flight going -- some
outbound flight to some other country, and they have some
illegal contraband in their possession.

MR. HELLAND: Your Honor, this is --

BY MR. STEINGOLD:
Q. Could you effectuate an arrest right there?

MR. HELLAND: I don’t believe there’s any relevance
to this line of inquiry, and I think we’ve spent enough time
on it already.

MR. STEINGOLD: Well, I think there is.

THE COURT: Well, it -- it --

52

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.53 Page 3 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

MR. STEINGOLD: Your Honor, we’re talking here about
detention and what the Government is supposed to show is a
risk of flight or danger to the community, and what I’m
attempting to show is that despite the fact that they claim to
have found this man basically red-handed, they just let him
walk away. And I think it bears on whether or not the
Government viewed him as a danger to the community or a risk
of flight.

THE COURT: An interesting argument.

MR. HELLAND: And I can cut it short, if you like,
your Honor. If you’1ll allow me to address this question.

THE COURT: Make a proffer. Why don’t we make a
proffer.

MR. HELLAND: I’11 make a proffer. Before criminal
proceedings could be commenced regarding -- let me step back.
The information on which the complaint is based was foreign
intelligence information, resulting from the foreign
intelligence of wire tap. Before that information can be used
in any criminal proceeding, the Attorney General has to
authorize it. The Attorney General did not authorize that
until -- was it two nights ago? No, yesterday morning?

THE WITNESS: Yesterday morning, sir.

MR. HELLAND: Okay. Between the time Mr. Assi was
detained at the airport and the time that he was ultimately

arrested following the issuance of the complaint yesterday,

53

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.54 Page 4 of 48

10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

which followed the Attorney General signing off on this
yesterday morning, Mr. Assi was under constant 24-hour
surveillance wherever he went.

So to state that the Government considered him not a
danger either to leave or to the community, and that’s shown
by the Government’s decision not to arrest, and the Government
just let him go, those are all incorrect factual premises,
your Honor.

THE COURT: All right.

MR. STEINGOLD: Your Honor, being unable to cross-
examine Mr. Helland, I’m at a loss to really contest these
allegations, but if he is pretending to --

THE COURT: Well, that’s the proffer.

MR. STEINGOLD: -- he’s made a proffer with no -- I
mean we don’t know when this surveillance began --

THE COURT: Well, now wait, wait --

MR. STEINGOLD: -- we don’t know what --

THE COURT: -- wait, wait, wait. First of all, Mr.
Helland has made a proffer as an officer of the court with
respect to the conduct of the Attorney General and the timing
and the legal requirements within the Office of the United
States Attorney and the Department of Justice. I take that as
a truthful representation.

MR. STEINGOLD: As do I.

THE COURT: With respect to this factual allegations

54

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.55 Page 5 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

as to when their surveillance began, if that were the reason
that the arrest was delayed, et cetera, et cetera, you may
cross-examine this witness on that.

MR. STEINGOLD: That -- that is the problem that I
have. Thank you, your Honor.

THE COURT: Well, ask the witness. If he doesn’t
know, say so.
BY MR. STEINGOLD:
Q. Well, do you know when 24-hour surveillance was begun on

Mr. Assi? Do you know?

A. No, I cannot specify the exact time and date it was
initiated.
Q. Do you know whether he was on constant surveillance from

the point when he was allowed to leave the airport?

A. Yes, he was.

Q. At what point? From the moment he left the airport?
A. He was on surveillance, yes.

Q. From what point?

A. He was on surveillance on his way to the airport.

And they never left? That is to say, the surveillance
continued non-stop from the point he left the airport?
A. I would say yes. Yes, he was on surveillance.
Q. Well, you say yes. You hesitated. Are you -- are you
guessing that he was? Or are you telling the Court that you

have information that he was on a constant, 24-hour watch from

55

 

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.56 Page 6 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

“before he went to the airport, and that it never ceased?

A. I didn’t say he was on a 24-hour surveillance prior to
him arriving at the airport. I said he was on surveillance
when he arrived at the airport. He was on 24-hour
surveillance after he left the airport.

Q. From the point where he left the airport, or some point
after that?

From the point he left the airport.

And how do you know that?

I was in contact with surveillance units.

Okay. Were you at the airport?

Yes, I was.

You were there when he was stopped at the airport?
Yes.

Did you see the items that he was found with?

When he was initially stopped?

Yeah.

No. No. But I did see the items later in the evening.

o> OP OP OP OP OP

Did you feel that his having been found in possession of
these items at the airport would justify your arresting and
detaining him right there?

A. No, I didn’t.

Q. Even though he was found with these items that you knew
were not exportable and said right on it you can’t take this

out of the country?

56

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.57 Page7 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

A. Again, sir, that was a different agency.

Q. But you were there as well. This was part of your
surveillance; correct?

A. Correct, sir. But my -- I was just there with -- as part
of surveillance. I mean, to see what was going on. But I was

not part of the --

Q. The other agency was intervening --

A. -- seizing the --

Q. The other agency was intervening at the FBI’s request;
correct?

A. Correct.

Q. I mean you told the agent to stop this individual and

check what he has because you think he’s taking stuff out of
the country that’s not allowed to be taken out of the country;
correct?

A. We advised Customs.

Q. And they stopped him and they found stuff that you
believed wasn’t supposed to go out of the country; correct?
A. Correct.

Q. Items that from your prior investigation you had
determined he knew couldn't go out of the country; correct?
A. I don’t know if we knew prior to that that he knew that
they were not exportable.

Q. At any rate, he was allowed to leave; right?

A. Yes.

57

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.58 Page 8 of 48

M. Thomas/Cross-Examination (Steingold)

1 | Q. From the airport. And you say he was on surveillance
2 from the point he left the airport; correct?

3 A. Correct.

41 Q. He was not advised that he was on surveillance though,

5 || was he?

6 i A. No, he was not.
71 Q. All right. Now, you told the Court about this camera
8 || that’s used to pick up body heat; correct?

9 A. Correct.

10 Q. There are multiple uses for that sort of camera, aren't

11 there?

12 || A. I’m sure there are, sir.

13 Q. And some of them -- for instance there’s medical use for

14 that, isn’t there?

15 THE COURT: Medical use for what?

16 MR. STEINGOLD: For the camera.

17 THE COURT: The heat-seeking camera?
18 MR. STEINGOLD: Yeah.

19 | BY MR. STEINGOLD:

20 |} Q. You know that from your experience in the military, don’t
21 |} you?
22 || A. I’m unaware of medical, sir.

23 || Q. All right.

24 THE COURT: Is this a camera that takes a still

25 || picture, or is this a video camera?

58

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.59 Page 9 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

THE WITNESS: Your Honor, it’s like a video camera,
your Honor. It has the capability to record what it sees, but
it is a thermal imaging scope, with the capability to record.

THE COURT: So it’s incorrect to call it a camera?

THE WITNESS: I’m not sure the exact nomenclature on
it, your Honor. If it’s a camera.

BY MR. STEINGOLD:

Q. Couldn’t it be used to identify wounded bodies in the
dark?

A. It could be used to identify any type of body in the

dark, sir.

Q. It could be used to identify anything that gave off heat;
correct?

A. Yes, sir.

Q. It could be used, for instance, to detect land mines,

couldn't it?
A. Sir, I don’t know that.
THE COURT: Or fugitives in North Carolina.
THE WITNESS: Yes, ma’am.
BY MR. STEINGOLD:
Q. Now, you talked about two interviews that Agent Steinbach
Claimed to have had at the airport with Mr. Assi; correct?
A. I don’t believe there was two interviews. I think there
was an initial question -- questioning of Mr. Assi, and then

there was an interview.

59

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.60 Page 10 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

You were not present for any of them; correct?
Correct.

This was not recorded, was it?

I don’t know if Agent Steinbach recorded it or not.

Was there any statement signed by Mr. Assi?

p Oo POP /

I don’t believe -- I can’t answer that, I don’t know. I
don’t believe so.

Q. All right. But both of these occasions when Agent
Steinbach talked to Mr. Assi were on July 13th; is that
correct?

A. Correct.

Q. Now, once he was released, you guys kept following him;
correct?

A. Correct.

Q. And he was asked, even though you didn’t feel you had a
reason, a basis for arresting him at the time, he was asked to
let the agent know if he had any plans whatsoever to leave the
Detroit area; correct?

A. I don’t know if Agent Steinbach directed that question or
if Mr. Assi volunteered that.

Q. All right. And in fact --

A. But I do know that was stated.

Q. I thought you told us that he was supposed to contact Mr.
-- Agent Steinbach, and that he in fact did so, and told Agent

Steinbach that he was taking his family on vacation to the

60

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.61 Page 11 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

Smoky Mountains?

A. That is correct.

Q. All right. Now, you didn’t -- no one called and said,
hey, are you going anywhere. That was Mr. Assi calling and
advising you guys when he was planning on going on a family
vacation; correct?

A. That’s correct, sir.

Q. Who did he go with?

A. I believe he was with his wife and his children.

Q. His wife? The same wife that you found this divorce

decree about; correct?

A. I presume it’s the same woman.
Q. Where -- where is that woman living?
A. I presume with Mr. Assi.

Q. You know that he is living with that lady and their
children, don’t you?

A. Yes, sir.

Q. And in fact they were all going on this family vacation
together, and he called to tell the federal government, this

is where I’m going?

A. Yes, sir.

Q. Did you guys know that he was preparing to leave?
A. Prior to his phone call?

Q. Yeah. I mean --

A.

Yes, we picked it up on a tech cut.

61

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.62 Page 12 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

Q. You're saying that for certain, you read that on a tech
cut?

A. Yes.

Q. So you knew when he was leaving and where he was going?
A. I’m not sure if we knew he was -- where exactly he was

going, but we knew he was going someplace.

Q. In any of these tech cuts that you had received up till
then, are you telling the Court that there was discussion
regarding the Hizballah?

A. Again, without reviewing all the tech cuts, I cannot
specify exactly what was said on -- on tech cuts.

Q. All right. So he told you he was leaving and he told you
he was going to the Smoky Mountains, and you guys followed
him; correct?

A. Us guys being the FBI; yes, sir.

Q. I’m sorry, the FBI was following him.

A. Yes, sir.

Q. And at that point it wasn’t a secret surveillance; you
made no attempt -- the FBI made no attempt to conceal they’ re

following Mr. Assi; isn’t that correct?

A. The initial intent was to be covert in the surveillance,
but it became too difficult, obviously, traveling through
states in darkness, and the decision was made to -- to become

closer to Mr. Assi’s vehicle, and I’m sure he was aware of his

surveillance.

62

 

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.63 Page 13 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

Q. Aware because the agents would take turns driving up next

to his car and looking in and basically surrounding him all
the way down; is that right?

A. I can't answer that, sir. I wasn’t on the surveillance.
Q. In fact, didn’t he stop at some point and come up to the
car and say, why are you following me? If you want to talk to
me, talk to me, but let me take my family on a vacation in

peace? Did that ever happen?

A. Sir, I don’t know.

Q. You weren't part of that surveillance?

A. No, sir, I was not.

Q. Were you ever advised that there was a conversation

between my client and the agents somewhere before Gatlinburg?
A. No, sir, I was not.

Q. In fact, have you ever been advised that when they were
still in Detroit and the surveillance became known, before
they left Mr. Assi went to the agent and said, why are you
following me? If you want to talk to me, take me and let’s
talk right now?

A. No, sir, I wasn’t aware of that.

Q. Were you aware of whether or not the -- any agents left
Mr. Assi at that point to go and see if that could be
arranged?

A. If what could be arranged, sir?

THE COURT: The interview.

63

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.64 Page 14 of 48

10

11

12

13

14

15

16

17

18

19

20

ai

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

BY MR. STEINGOLD:

Q. Did any of these surveillance agents tell you that they
had a conversation with my client in Knoxville, Tennessee,
where he went up to them and said, why are you following like
this? Let’s talk.

MR. HELLAND: Your Honor, I’m not sure we got an
answer to the previous question.

MR. STEINGOLD: Oh, I’m sorry.

THE COURT: You asked first about prior to leaving
Detroit.

MR. STEINGOLD: Right. And now I’m asking about --

THE WITNESS: No, I’m not aware of that.

BY MR. STEINGOLD:

Q. How was this interview in Gatlinburg arranged?

A. I believe Mr. Assi was approached by two agents and asked
to talk.

Q. You believe that? Based on what?

A. On the conversations with the agents who conducted the
interview.

Q. And you were never advised that Mr. Assi confronted the

agents at two points before Gatlinburg?

A. I don’t know if he confronted agents or surveillance
personnel.
Q. Now, you basically summarized what happened in that

interview in Gatlinburg based on what you were told by other

64

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.65 Page 15 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

agents and what you've read; correct?

Correct.

Because you were not there?

A.

Q.

A. Correct.
Q And this was not recorded?

A Correct.

Q And there is nothing in the nature of a statement signed
by Mr. Assi, is there?

A. No, sir, there’s not.

Q. Now at this point he was certainly the focus of an

investigation, wasn’t he?

A. Yes, sir, he was.
Q. In fact you were trying to develop enough information to
effectuate the arrest if you didn’t already have -- have

enough information; correct?
A. Correct.
Q. Mr. Assi was never advised of any -- any rights that he

had not to make a statement, did he?

A. Mr. Assi was never in custody.
Q. I didn’t ask whether he was in custody.
A. No, he was never advised of any rights.

Q. All right. And during that interview on the 17th you
told the Court that Mr. Assi basically confessed; right?

A. Correct.

Q. I mean he not only told you, according to what you had

65

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.66 Page 16 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

been told, that he was sending this stuff to Lebanon, thinking
it was going to the Hizballah, but he listed for you some
items that he apparently indicated had previously been sent to
Lebanon; correct?

A. He listed it for those two agents conducting the
interview; correct.

Q. Correct. And according to what your report indicates, he
told you that he knew it was illegal and he was willing to

take that risk; correct?

A. Correct.

Q. Did you arrest him at that time?

A. No, we did not.

Q. You certainly had enough information to arrest him at

that point, didn’t you?

A. I don’t know, sir.

Q. You don’t know?

A. I don’t know if had the determinations back at that
point.

Q. Well, let me understand this. You have him at the

airport about to board an outbound flight to Frankfurt, in
possession of items that -- that you can’t take the stuff out
of the country; correct?

A. Correct.

Q. You knew from your other investigation that he was taking

this stuff to Lebanon; correct?

66

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.67 Page 17 of 48

10

121

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

A. Correct.

Q. And now you have an admission that he knew that the items
were going to used to support Hizballah; correct?

A. Correct.

Q. And you're telling the Court that you know whether you
had enough information to arrest him at that time?

A. We still did not have Attorney General’s approval to
release the information that we had, sir.

Q. And after he gave you these statements in Gatlinburg, he
was allowed to leave?

Correct.

And proceed on his family vacation?

Correct.

Had total freedom?

Yes, sir.

Oo PO » oO >

Now, tell me, in your surveillance up to this time, was
there ever an occasion where Mr. Assi attempted to leave the
Detroit area, other than when he told you he was going to the
Smoky Mountains?

A. Sir, he had made calls to a travel agent to get him to go
to Lebanon, another flight to Lebanon.

Q. When?

A. Subsequent to his detention by Customs.

Q. And when --

THE DEFENDANT: Because they told me to --

67

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.68 Page 18 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

THE WITNESS: But he did inform -- I mean he
informed, I believe maybe it was Agent Steinbach or --

THE DEFENDANT: And then they told me it was okay.
BY MR. STEINGOLD:
Q. He told them -- he told them that he was going to go to
Lebanon; correct?
A. Correct.
Q. All right. So he didn’t hide his intention to still try
to go to Lebanon?
A. No, sir.
Q. All right. He didn’t try to slip away in the middle of
the night, did he?
A. No, sir.
Q. Through all of your interceptions and surveillance, did
you discover his attempting to obtain false information?
A. Attempting to?
Q. Obtain false like ID or anything like that?
A. No, sir.
Q. All right. And at any rate, you let him go on the 17th,

and he went on his way?

A. Yes, sir.

Q. Now, surveillance was continued; correct?

A. Yes, sir.

Q. Was it visible surveillance or was it covert
surveillance?

68

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.69 Page 19 of 48

10
11
12
@ 13
14
15
16
17
18
19
20
21
22
23
24

25

 

M. Thomas/Cross-Examination (Steingold)

A. It was visible at that point, sir.
Q. During the entire vacation, the FBI made sure that Mr.
Assi knew that he was being watched?
A. I’m not sure if he was aware the entire time, but he was
aware that they were -- their presence.
Q. At any point did he attempt to flee?
A. No, sir.
Q. Now, after the 17th -- in fact it was on the 17th, the
same day that Mr. Assi talked to the agents in Gatlinburg,
there was a series of raids in the Detroit area; correct?
Search warrants, sir.
Okay. There was a search of Mr. Assi’s residence?
That’s correct, sir.

Of his work place?

A.
Q
A
Q
A. Correct, sir.
Q Of his father’s house?
A Correct, sir.
Q Of two of his sisters’ houses?
A His brother’s house and I believe his sister’s house,
yes, sir.
Q. All right.
THE COURT: They all live here?
BY MR. STEINGOLD:

Q. Do they all live in the Detroit area?

A. Yes, ma’am, your Honor.

69

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.70 Page 20 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

Q. And from whatever information you gathered through these

searches, you still did not feel you had enough evidence to
arrest Mr. Assi; is that correct?

THE COURT: I think he’s already testified that he

MR. STEINGOLD: It wasn’t his call.

THE COURT: -- that wasn’t the reason that he was
not arrested.

MR. STEINGOLD: All right.
BY MR. STEINGOLD:
Q. At any rate, in all of these items that were found, and
all these articles that were found, did you find any weapons?
A. There was one shotgun at his residence, sir.
Q. All right. Did you determine whether or not that was for
personal use or protection; did you learn anything about that?
A. No, sir, it wasn’t relevant.
Q. Now, any of these items that he was either found in
possession in or you claim he said he'd already shipped, are
any of them munitions?
A. No, sir.

Q. All right. And are any of these articles that you found,

did any of them have anything to do with killing?

A. No, sir.
Q. Everything was surveillance related; is that right?
A. Correct, sir.

70

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.71 Page 21 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

Q. All right. Now, on the 21st he was again requested to
meet with the agents, including you; correct?

A. Correct.

Q. He was not picked up and taken anywhere; you called or
someone called and he agreed to meet the agents; correct?

A. Yes. An appointment was set up.

Q. All right. And he came in over at the Hyatt Regency in
Dearborn; correct?

A. Correct.

Q. And he provided you more information about the identity
and description of the persons in Lebanon who you believe, or
you claim he told you, were his Hizballah connections;
correct?

A. That he did not previously -- yes, sir.

Q. Right. And he gave you more information about his
intention to take these items to Lebanon, knowing they were
going to end up at Hizballah; correct?

A. Correct, sir.

Q. And he even offered to take a polygraph to confirm that
he’s been telling you guys the truth; correct?

That's correct, sir.

And after all of that was done, you let him go?
Correct, sir.

To return home to his wife and kids?

> OP Oo PY

Correct.

71

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.72 Page 22 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Cross-Examination (Steingold)

Q. And finally you effectuated, or the marshals on behalf of
the FBI effectuated an arrest of my client yesterday?
A. Sir, it was the FBI.
Q. All right. At any point prior to his arrest, did he
attempt to flee?
A. No, sir.
Q. Do you have any information that prior to his arrest he
attempted to obtain false identification?
A. No, sir.
Q. Have you any information to suggest to the Court that he
has made plans to obtain false identification?
A. No, sir.
Q. Have you any information to suggest to the Court that
some organization, whether Hizballah or otherwise, has made
arrangements or has laid the groundwork for secreting my
client out of the country?
A. No, sir.
Q. Have you obtained any information to suggest that -- to
show that my client was planning on moving himself and/or his
family to -- to Lebanon sooner than 15 years when he retires?
A. Sir, there was quite a few bags of clothing packed and
ready to go in the residence when we conducted the search
warrant.

THE DEFENDANT: It’s for storage. It’s just winter

clothing.

72

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.73 Page 23 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Cross-Examination (Steingold)

BY MR. STEINGOLD:

Q. You found -- where did you find these items?

A. In the upstairs, sir.

Q. Where upstairs? I mean in a bedroom, or ina storage
area?

A. No, sir. It appeared to be a storage area.

Q. All right. Did you determine whether any of the
children’s or the wife’s clothes were still in their drawers,
or had been packed in these things that you found in the
storage area?
A. No, sir.
Q. Had you any information that my client’s wife and kids
had arrangements to go to Lebanon or anywhere outside the
United States?
A. No, sir.
Q. Have you any information that my client rented a place in
or obtained a residence somewhere in Lebanon?
A. No, sir.

MR. STEINGOLD: I have nothing further at this time,
your Honor.

MR. HELLAND: Just a couple of quick questions, your

Honor.

REDIRECT EXAMINATION

 

BY MR. HELLAND:

Q. Agent Thomas, the last series of questions that Mr.

73

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.74 Page 24 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

M. Thomas/Redirect Examination (Helland)

Steingold asked you had to do with information in your
possession regarding Mr. Assi’s plans to leave this country
for Lebanon sooner than 15 years from now. Sir, I'd like to
direct your attention to -- I’m sorry, what’s the phrase for
the evidence you picked up through the wire tap?
A. Tech cuts.

THE COURT: Tech cuts.
BY MR. HELLAND:
Q. Tech cuts. I’d like to refer you to tech cuts of which
you're aware. In those tech cuts, did Mr. Assi discuss plans
to leave the United States?
A. Yes.
Q. And in particular -- and what was it that Mr. Assi
requested that his friend in Lebanon do for him?
A. To find him an apartment or some type of housing.
Q. And in those tech cuts, did Mr. Assi make reference to
his children in school?
A. I believe, yes, sir.
Q. And what was that reference again?
A. That he was going to, if it had to be, pull them out
early.
Q. And did Mr. Assi -- is there anything -- to your
knowledge, is there anything in the tech cuts that indicates
that he intended to pull them out of school in 15 years?

A. No, sir.

74

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.75 Page 25 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

a4

25

 

M. Thomas/Recross-Examination (Steingold)

Q. Okay.
MR. HELLAND: No further questions, your Honor.

RECROSS - EXAMINATION

 

BY MR. STEINGOLD:

You read these tech cuts?

No, sir.

Somebody told you that these were on the tech cuts?
Yes, sir.

Did you ever ask to see a copy of the transcript?
No, sir. I just recently learned of this, sir.

How recently?

I would say within the last three hours, sir.

Who told you that?

Supervisory Special Agent Cummings at FBI Headquarters.

oP oO PO PD PO P

And did he indicate who it was that my client contacted

in Lebanon to find a residence?

A. No, sir.

Q. Did he indicate for how long that place was to be
obtained?

A. No, sir.

Q. Would it be important to know if he was looking for a

place for a couple of months for an extended vacation or a
permanent residence; would that be important to find out?

A. I would say yes, sir.

Q. All right. You didn’t find that out, did you?

75

 

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.76 Page 26 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

M. Thomas/Recross-Examination (Steingold)

A. Sir, I just told you, I recently found out in the last --
within the last two or three hours.

MR. STEINGOLD: Nothing further.

MR. HELLAND: Nothing further, your Honor, and no
further witnesses.

THE COURT: All right. You may step down. Thank
you for your testimony.

THE WITNESS: Thank you, your Honor.

(Witness excused.)

THE COURT: Mr. Steingold, do you have any other
witnesses, evidence or anything like that? If you do, or if
you would like a moment to speak about it with your client, we
could take this other matter here, which -- on which I think
people are waiting, and --

MR. STEINGOLD: I'd be glad to wait, your Honor, but

THE COURT: Two brief matters, and then -- and then
we'll -- so we’ll take a recess in this proceeding. You can
have an opportunity to speak with your client and decide what
you want to do with respect to evidence or whatever. We’ll go
off the record on this matter and call these other two cases.

(Unrelated proceedings held.)

THE CLERK: The Court again calls the case of Fawzi

Assi, 98-80695.

THE COURT: Mr. Steingold, have you had an

76

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.77 Page 27 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

opportunity to speak with your client and in regard to what
we're doing next?

MR. STEINGOLD: Yes, your Honor. I would like to
call my client to the stand.

THE COURT: Okay. You know that I would be willing
to accept his testimony by proffer, and that he has a Fifth
Amendment right not to testify?

MR. STEINGOLD: Your Honor, the only thing that I
was going to bring out from him is his background and his
intention not to flee. If the Court would allow that to be
done by proffer, I will do that.

THE COURT: That’s fine. Why don’t you have a seat.

MR. STEINGOLD: Your Honor, my client --

THE COURT: Would you like to hear Mr. Sims’ report
first?

MR. STEINGOLD: Sure.

THE COURT: Because we haven’t heard that because it
wasn’t ready.

MR. STEINGOLD: Okay.

THE COURT: I mean I don’t --

 

MR. STEINGOLD: No, that would -- I would appreciate

that, your Honor.
THE COURT: Okay.
MR. STEINGOLD: I should have thought of that.

MR. SIMS: Craig Sims on behalf of the Pretrial

77

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.78 Page 28 of 48

10

il

12

13

14

15

16

17

18

19

20

al

22

23

24

25

 

Services.

I interviewed the Defendant, and he advises that he
is a resident of Middlepoint Street in Dearborn, Michigan. He
resides there with his -- with his ex-wife, who he
acknowledges that he was previously divorced from. The
divorce was finalized, he believes, in April of 1998. He and
his wife have since reconciled. They live at that location
with their three children.

They’ve been at that location for 18 months, on the
Same street for five years. He’s been in the United States in
Dearborn, Michigan, since 1979. He advises that he is a U.S.
citizen, and that he possesses a U.S. passport.

He is employed by Ford Motor Company. He’s been
employed for seven years. Prior to this employment, directly
before, he was under a contractual relationship with them for
four years. And before that he was employed by General
Motors. He is -- he is a -- he holds a masters degree in
mechanical engineering, which he obtained from Wayne State in
1986. So he’s a long-time resident of this community.

He has family ties that consist of two brothers and
five sisters, all in the Dearborn, Dearborn Heights area. His
parents, both mother and father, live in Lebanon. He advises
that he has no --

(Discussion off the record.)

THE COURT: No, that’s wrong?

78

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.79 Page 29 of 48

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

MR. STEINGOLD: His mother and father are here. And
in fact, your Honor, his father is in the courtroom.

THE DEFENDANT: My grandparents, but not --

MR. STEINGOLD: He meant his grandparents are in
Lebanon.

THE COURT: Oh, grandparents. His father is in the
courtroom?

MR. STEINGOLD: Yes.

THE COURT: And you are?

MR. STEINGOLD: That’s -- the father is the
gentleman in the white shirt with the grey stripe, and the
young man next to him is my client’s older brother.

THE COURT: Okay.

MR. SIMS: (indiscernible - not at a microphone.)

THE COURT: Okay.

MR. SIMS: Then it has -- he advises that he lives
at that address with his wife, and that he is renting; he does
not own the home.

THE DEFENDANT: Yes, it’s my father’s.

THE COURT: Well, the father owns the home.

MR. SIMS: The father owns the home. So he owns no
specific property.

Prior criminal record, only in the form of a
misdemeanor; domestic assault conviction in Dearborn court in

January of 1998, which he advised it was a domestic dispute

79

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.80 Page 30 of 48

10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

 

between him and his wife.

Pretrial Services would recommend that the Defendant
be released on bond with conditions that may include
electronic monitoring and travel restrictions (indiscernible).

MR. STEINGOLD: Your Honor, the only thing that I
would add to the report is that my client does have three
children, aged 10, 11 and 13, living at the home with himself
and his wife.

And as a further proffer, your Honor, my client’s
father and two brothers are in court, as well as a brother-in-
law, and in particular Sami Assi, one brother -- would you
please stand -- is also a United States citizen, a veteran of
the U.S. Army, is prepared to assume third-party custody
should that be a condition that the Court might want to
consider, and if the Court would like to question him about
his residence and his ability to serve as third-party
custodian, I would just offer that he is available for that.

THE COURT: This is the same guy who allegedly
received the $60,000 in cashier’s checks from the Hassan
person?

MR. STEINGOLD: This is the person who the
Government claims took back an envelope that had contained
that. There is no allegation that he knew what was in the
envelope. In fact it’s suggested in the reports that he --

that apparently no one was supposed to know. And yes, he is

80

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.81 Page 31 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

the same person who is alleged to have carried that envelope.

As any number of family members, your Honor, that

would be willing to serve as third-party custodians. All five

of his sisters, his two brothers, or his parents, and any >

combination of them.

MR.

HELLAND: Your Honor, before we start talking

any further about third-party custodians, I would like to

finish the question of detention, if we might.

MR.
THE
MR.
THE

consider this

STEINGOLD: Oh, I’m just offering that --
COURT: That was his proffer.

HELLAND: Okay.

COURT: His proffer -- his proffer is for me to

part plus appropriate third-party custodians

would be available. Do you have any questions of potential

third-party custodians?

MR.

THE

MR.
Honor.

THE
detention.

MR.
brief.

For

strongly that

HELLAND: No, your Honor.

COURT: Okay. I/’11 give --

STEINGOLD: I have nothing else to offer, your
COURT: Okay. Argument on the issue of

HELLAND: Thank you, your Honor. I will be

a number of reasons, your Honor, we feel quite

there is no condition or combination of

81

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.82 Page 32 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

conditions that will guarantee that Mr. Assi will be present
for trial. First I want to start with the offense.

The guidelines for this offense exceed 17 years in
custody, your Honor. Whatever might be his inclination to
stick around if his exposure were relatively brief, I think a
sentence of that magnitude would give any rational person
pause, particularly a person in Mr. Assi’s situation, where
he’s a citizen of Lebanon --

THE COURT: Uh-uh. Uh-uh. No.

MR. HELLAND: Yes. I’m sorry, if I failed to cover
that, let me proffer. He is -- he has dual citizenship, your
Honor. So if I failed to cover that, let me do that right
now; okay?

Agent Thomas?

AGENT THOMAS: Dual citizenship.

MR. HELLAND: And how do you know that?

AGENT THOMAS: He has -- is in possession of two
passports, Lebanese and American.

MR. STEINGOLD: Anyone who has ever been a citizen
of Lebanon retains that citizenship, even if they’re made a
citizen of another country, unless specifically denounced.

THE COURT: No, no, no. If he is a naturalized
citizen of the United States --

MR. STEINGOLD: Which he is.

THE COURT: -- he had to give up his Lebanese

82

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.83 Page 33 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

citizenship in order to become a naturalized citizen.

MR. HELLAND: But he retains a Lebanese --

THE COURT: Because we do not permit dual
sovereignty -- I mean dual citizenship.

MR. HELLAND: But he retains a Lebanese passport; is
that correct?

THE COURT: I absolutely renounce and abjure all
allegiance and fidelity to any foreign prince, potentate, et
cetera, et cetera, et cetera.

MR. HELLAND: And with all due respect, that part of
the oath we already know is in question because of the support
he was providing to the organization. He does retain a
Lebanese passport. So whatever he might have said under oath,
the fact is that under the laws of Lebanon he’s a Lebanese
citizen, and he’s got a Lebanese passport.

THE COURT: Okay. I don’t know about that, but I
know that -- I don’t think we permit.

MR. HELLAND: We may not, but we also don’t permit
the export in question here.

THE COURT: Okay.

MR. HELLAND: In any event, we have no extradition
treaty with Lebanon, so were he to go to Lebanon, we would
have no ability to bring him back here.

He has indicated at some point, whether it’s

immediately, as he said in the tech -- or in the near future

83

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.84 Page 34 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

as he indicated in the tech cuts, or ultimately, that he does
intend to relocate to Lebanon. Again, a rational person in
his situation, facing the exposure that he’s facing, would not
stick around in this country for the purpose of serving a
lengthy prison term, and then retire to Lebanon.

The evidence against him, I submit, is extremely
strong, so his chances of being convicted are very high.

No doubt -- and Mr. Steingold has intimated in
various ways that Mr. Assi was cooperative. I think it bears
noting that what Mr. Assi has done -- first of all, he hasn’t
fled, although he’s been under 24-hour surveillance; it would
have been difficult. He was cooperative before such time that
he was aware that he was in any substantial difficulty, and
after that he was aware he was under surveillance.

But he has -- every time he has been interviewed, he
has lied about material parts of his activities until
confronted with something that forced him to tell the truth.
So to characterize what he has done as cooperative I think is
to misstate it. He has put on a facade of cooperation, which
ultimately, I think, has redounded to his detriment, but I
don’t think it can be characterized as cooperation.

He attempted to destroy the evidence, at least
somewhat what he considered to be relevant evidence against
him.

And I think it cannot be overstated that he was

84

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.85 Page 35 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

acting on behalf of a well-funded international organization,
which makes him completely different than the customary
criminal who might have ties to another country. He was
acting in essence as the agent of a foreign government, or
what passes as a quasi-government in Lebanon. And, your
Honor, that agency has the power and the means to relocate him
and to provide well for him in Lebanon should he choose to go
there.

And under the circumstances, your Honor, it’s our
strong feeling that nothing will guarantee his presence here.

MR. STEINGOLD: If I just heard correctly, Mr.
Helland just made Hizballah a quasi-government. I’m not aware
of the basis for that, nor am I aware of any indication of a
link between the Hizballah and the Lebanese government.

As far as the passport’s concerned, I’ve been
advised by another naturalized citizen in this courtroom that
when you become a naturalized citizen, you do renounce your
citizenship, but you don’t give up your passport, and that
person is Mr. Villarruel, who was born in Mexico and is a
naturalized citizen, but still retains his Mexican passport.
That doesn’t mean that he’s a traitor to the United States or
that he has it for some surreptitious reason. There’s nothing
illegal or improper about it.

In terms of the allegations against my client, your

Honor, what we are here basically to determine is not the

85

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.86 Page 36 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

guilt or innocence of my client, although I would point out,

number one, there is no presumption. Number two, while this
is a ten-year offense, I don’t know what the guidelines are.
And while I’m not in a position to contest Mr. Helland’s
suggestion of what they are, that is not before the Court.
There is no minimum sentence. This is a probationable
offense, in theory. That we know for sure.

MR. HELLAND: My representation was the guidelines
are 17 years, exceed 17 years.

MR. STEINGOLD: Well, with the statute, at least the
one I’m aware of, being a ten-year statute, I’m not sure how
the guidelines could be 17 years.

MR. HELLAND: There are multiple counts.

MR. STEINGOLD: If they’re going to want consecutive
sentencing if he’s convicted on everything, I guess we can add
them all up. But all three offenses, as I understand it,
carry a maximum of ten years and carry no mandatory minimum.

Am I correct about that?

MR. HELLAND: That’s correct.

MR. STEINGOLD: Your Honor, let’s talk about my
client’s danger -- being a danger to the community. There has
been not one bit of evidence suggested by the Government to |
show that he’s a danger to this community. There is nothing
that suggests that what he is alleged to have done was

designed to inflict any -- any danger at all on any citizen of

86

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.87 Page 37 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

the United States, let alone the community of Dearborn or the
greater Detroit area. There’s no suggestion that any of the
items he’s alleged to have procured were weapons or could be
used in any aggressive manner. There is no suggestion that
because of his background he poses a risk to the community.

To the contrary, he has conducted himself as law-
abiding citizen his whole life, and he has been cooperative.
While the Government may contest whether he told them
everything all at once or just all came out, what we do have
demonstrated is that he has told them everything, including
identifying the persons who they claim are Hizballah members.
If there is a danger at all, the danger is to my client and
his family should they go to Lebanon if the people allegedly
in the Hizballah know that he has identified them to the
Government as being Hizballah agents. That’s the danger, not
to the community, but to my client if he goes to Lebanon,
which goes to his risk of flight. Why would he go to Lebanon
if he’s already told the Government who these people are, what
their intentions are, and what they look like?

And as far as his intention to flee, or the
likelihood that he would flee, I give you the fact that he’s
been here for 20 years. That his whole family is here, not
just his wife and his three children, but his mother, his
father, all of his siblings and their family, as well as his

wife’s family. They’re all here in the Detroit area.

87

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.88 Page 38 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

And the best indication of his not having an
intention to flee has been his conduct since he was originally
stopped at the airport on July 13th. While we are told -- and
I’m not going to contest it -- he was under 24-hour
surveillance, that actually supports our position, because my
client did not know, or at least there’s no suggestion that he
knew that he was under 24-hour surveillance. Yet, he made no
preparations to flee. He was not trying to obtain false
identification. There was no call intercepted in these last
two weeks -- and they were listening to everything -- where he
suggested he was going to take his family and get the heck out
of here. There’s nothing like that at all.

And if he is willing -- and he is willing to
surrender his passport and subject himself to electronic
tethering and/or third-party custody, regular reporting, any
combination of the factors listed in the statute, the Court
can very well be assured that he’s not going anywhere.

And in addition to the electronic tethering, I think
it’s safe to assume that if the Court did release him on bond,
that 24-hour surveillance is going to continue. He’s not
going anywhere, your Honor.

I would request that the Court follow the
recommendation of Pretrial Services and allow my client a

bond.
MR. HELLAND: Real briefly. To the -- to the extent

88

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.89 Page 39 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

there’s any suggestion that the FBI ought to continue 24-hour
surveillance in an effort to keep this guy around, I think
that's an unreasonable drain on the taxpayers’ resources.

THE COURT: So do I.

MR. HELLAND: And to the extent we talked about
danger --

THE COURT: I don’t think that’s what he meant, but
I -- I -- I think that it would be inappropriate to say he
should be released because the FBI could conduct 24-hour
surveillance. If that were the case, everybody should be
released.

MR. HELLAND: Precisely.

THE COURT: Because the FBI’s resources are
unlimited; right?

MR. HELLAND: And to the extent we talked about
danger to the community, Mr. Steingold has focused on the
danger to the Dearborn community or the United States
community. We don’t quarrel with that, but I don’t think the
statute is so narrowly drafted, either. The danger here is to
the community in Lebanon or in southern Lebanon or in Israel
that might be impacted by Mr. Assi’s actions.

THE COURT: I appreciate that. On the other hand,
this is merely a complaint. Mr. Steingold has made, I think,
pretty compelling arguments about the fact that the Defendant,

like or not, has cooperated, has identified all of the players

89

 

 
 

Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.90 Page 40 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

that he has been linked to on the telephone or whatever. And
has placed himself in some position of jeopardy with respect
to returning to Lebanon, and at least it would seem has
neutralized his value to Hizballah as somebody who is likely
to export anything because his activities are known, he’s
identified those involved, and he’s of no use to the
organization. I mean even if he shouldn’t be in jeopardy,
he’s clearly of no use.

So if he were to be released on a tether under
conditions of close supervision as directed by Pretrial
Services, would not -- and surrender his passports, would not
we be able to assure the safety of the community and the
communities in general, and minimize the risk of flight?

MR. HELLAND: Are you asking or no?

THE COURT: I mean it’s somewhat rhetorical, but
where would that -- how would that fail to accommodate the
needs of the Bail Reform Act setting the least restrictive
conditions as possible? It’s not a presumption case. They’ re
not weapons. He’s got no more value.

His family ties are here. He’s been here for 20
years. All of his family, in-laws, whatever, his children are
here. His family has financial ties to the United States.

He made no effort, he was -- he didn’t know he was
under surveillance, didn’t know his phone was tapped, at least

for some period of time.

90

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.91 Page 41 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

MR. HELLAND: Two days, yes.

THE COURT: And he made no effort to leave the
country, never -- never requested false documents or anything
like that, that would lead me to believe that he’s not going
to flee -- I mean that he is going to flee.

MR. HELLAND: Of course with respect to danger to
the community, I agree. To the extent that he’s neutralized
as a buying agent, he is not a future danger to this community
or another community. So I agree with that.

With respect to his staying, however, I do not
agree. First, with respect to his knowledge that -- or his
attempt or any effort to flee, I don’t think he was aware
until he was arrested or shortly before he was arrested of the
magnitude of the situation that he was in. So the fact that
he made no effort to flee I think carries little weight during
that window of time.

And with respect to his other intent to stay, I
submit, your Honor, that if you were given the choice between
going to a country where you have substantial ties -- not your
immediate family -- I agree those are here; maybe not
permanently, but for now they’re here. But if you were given
the choice between --

THE COURT: Well, let’s not put myself in this
situation.

MR. HELLAND: Okay.

91

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.92 Page 42 of 48

10

11

12

13

14

i5

16

17

18

19

20

21

22

23

24

25

 

 

THE COURT: I might leave my family.

MR. HELLAND: And I think many a rational person --
THE COURT: His aren’t full teenagers yet. He has
another five or six years.

MR. HELLAND: Many a rational person in the same
situation, in fact I think most rational people who have plans
to return to that country anyhow, and whose stay here is going
to be a stay in prison, would not choose staying.

THE COURT: Well, he has other choices.

MR. HELLAND: Not -- I’m not aware that he does have
other choices, your Honor. I mean to go to any other country,
yes,|but I’m not aware that he has other choices here between
a substantial prison sentence here and leaving.

THE COURT: Well, we’re only here on a complaint.
MR. HELLAND: I understand.

THE COURT: We don’t have an indictment. We have
some| -- he’s represented by counsel. I don’t know if he’s
going to be indicted on all three charges or indicted at all.
MR. HELLAND: I can make a representation if that
makes any difference to the Court.

THE COURT: Can I see counsel at the bench, and

Pretrial.
(Conference at the bench off the record.)

THE COURT: Okay. I’ve discussed this matter with

counsel at the bench. And after considering all of the

92

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.93 Page 43 of 48

10
il
12
® 13
14
15

16

18
19
20
21
22
23
24

25

 

alternatives, and the testimony, and the factual information,

and the recommendation of Pretrial Services, I believe that

there are conditions consistent with Pretrial’s recommendation

under which the Defendant could be released. Although it’s no

incumbent upon the magistrate judge to put reasons for release

on the record, I am going to do this because I have been

advised that the Government intends to appeal this order of

release.

does

keep]
resti

3142

First of all, this is a case where the Government
not have the benefit of the presumption of detention.

Secondly, looking at the factors under 3142(g), and
ing in mind the directive of the statute that the least
rictive conditions are to be imposed, the factors under
g) are as follows:

"The nature and circumstances of the offense
charged, including whether the offense is a crime of
violence or involves a narcotic drug."

This offense is neither a crime of violence nor does

it imvolve a narcotic drug. It is an offense that -- that

does

involve allegations of support for an international

terrorist organization. However, the items that were alleged

in the offense do not involve weapons or indications of a

crime of violence.

this

I recognize that use of the -- of the -- linking

Defendant with the organization of Hizballah is something

 

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.94 Page 44 of 48

10

121

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

that gives anyone pause. And as I reflected on the testimony,
my first response was to detain the Defendant, merely because
he was linked with Hizballah. But I don’t think that that is
really enough.

The weight of the evidence shows that he is not
intimately connected with Hizballah, and that the attempt to
ship these items were not items directed -- were not
munitions, ammunition, guns, any of those other substances.

As a matter of fact, one of the items was essentially the same
as the FBI was using in the North Carolina surveillance for a
fugitive. I can’t make a leap of faith and say that just
because the FBI is using a camera like that, they’re going to
be violent, nor should I make that same leap of faith to say
if the Defendant or the persons who -- other people who use
this kind of camera are going to necessarily be violent,
although I recognize that this organization is on the
Secretary of State’s list, and this is a very bad factor
against the Defendant.

But looking at the Defendant himself, as I think I’m
bound to do, under 3142(g), item (3), the history and
characteristics of him, he has no prior record except for the
misdemeanor domestic assault in January with the same person
that he’s been married to for a long time; then they were
divorced; now they’re back together; took a family vacation;

continue to reside together in the same household; and it

94

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelD.95 Page 45 of 48

10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

 

appears to be an isolated incident. Even with that
circumstance, there’s no evidence of flight, failure to
appear, or anything else related to that.

His family ties to this community are extremely
strong. His parents are here, his brothers are here, his wife
is here, his wife’s parents are here, his children were born
here. The family as a whole has financial ties to the
community, and the Defendant rents from his father.

His employment is also another positive factor in
his favor. He has had -- been here -- he’s been employed with
Ford seven years now, four years before, previously with --
with GM, eleven years in total with Ford. No evidence that it
was anything except solid.

His financial resources are -- are strong with
respect to continued income, but not so much as to say that he
has the wherewithal on his own to leave and go someplace else
and start over again. He’s still a salaried employee at Ford.

He owns no property in -- in another country, and
hasn’t made multiple trips to other countries, other than
perhaps Lebanon.

The cooperation that he has given, with respect to
going back to the evidence against him, indicates to me that
he has identified all of the persons involved, identified his
own involvement in this case, identified other involvement

that he has had, and so I think that whether or not he could

95

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.96 Page 46 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

return to Lebanon is clearly an open question. It’s certainly
not a favor -- an automatic factor in favor of the Government.
It is undeterminable and shouldn’t be used as a reason to deny
him bail.

His length of residence in the community is long
time, as is his community ties. He’s been here since 1979, so
he has been here approximately 20 years. He has no evidence
of past bad conduct, outside of this -- these allegations, and
the misdemeanor assault charge, which seems to be resolved.

He has no history relating to drug or alcohol abuse.
His criminal history is minimal. The record concerning
appearance at court proceedings is -- shows no failure to
appear.

He was not currently on probation or parole or
release pending trial.

The nature and seriousness and the danger to any
person or the community that would be posited by the
Defendant’s release is minimal. Whatever value he had to
Hizballah is now neutralized because of his arrest on these
charges and cooperation with the FBI, even though I think the
Government would hesitate to characterize this as true
cooperation. But the information that he’s provided makes --
makes him no longer, it seems to me, of value to this
organization. And he doesn’t seem to be, based on what I can

see, in a high enough level within the organization that these

 

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.97 Page 47 of 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

circumstances would be automatically forgiven.
Therefore, I believe that it is appropriate to

release him on conditions, and I would restrict his travel to

the state of Michigan -- I’m sorry, to the Eastern District of
Michigan. I would require his father to sign an AO form -- I
believe it’s 44 -- the agreement to forfeit property, to

forfeit his home if the Defendant should flee.

To be electronically monitored by Pretrial Services,
to surrender all passports to Pretrial Services forthwith
before his release. Those could be obtained by a family
member and brought down to Pretrial. To comply with @ curfew
as directed by Pretrial Services, allowing to maintain --
allowing him to maintain his employment. And to reside at the
address on the bond.

The Government has asked that I stay this order. I
will do so. I’m reluctant to stay it over the weekend, but I
assume the miscellaneous judge is available, and if they
continue to stay after five o’clock, that’s fine with me. If
the miscellaneous judge is not available, someone should
advise me forthwith.

THE CLERK: The amount of the bond?

THE COURT: The bond would be $100,000 unsecured.

It would be an unsecured bond, but the agreement to forfeit
property would come into play if the Defendant should flee.

All right, is there anything else to be put on the

97

 

 
Case 2:98-cr-80695-GER ECF No. 10-2 filed 08/03/98 PagelID.98 Page 48 of 48

10

il

 

record for this?

MR. HELLAND: No, your Honor

THE COURT: Okay.

MR. HELLAND: Not for the United States.

THE COURT: Thank you.

MR. STEINGOLD: Nothing, your Honor.
(Discussion off the record.)

THE COURT: Preliminary exam August 3rd.
(Discussion off the record.)
(Father sworn as to ownership of property.)
(Hearing concluded.)

I certify that the foregoing is a correct transcript of the
proceedings held in the above-entitled matter.

DATED: _August 3, 1998 Kore of
Lynn L. Spietz, Transcriber

 

98

 

 
